      Case 1:21-cv-09579-JHR-JW           Document 68        Filed 05/16/24      Page 1 of 4




                       Kennedy Lillis Schmidt & English
                                   125 Maiden Lane
                               New York, N.Y. 10038-4753
                                  Telephone: 212-430-0800
                                         WWW.KLSELAW.COM
                                                                                     Charles E. Schmidt
                                                                             CSCHMIDT@KLSELAW.COM
                                                                                DIRECT DIAL: 212-430-0802
May 14, 2024                      By Tuesday, May 21, 2024, Defendant shall respond to
                                  Plaintiff’s letter.
Hon. Jennifer H. Rearden
Daniel Patrick Moynihan           SO ORDERED.
   United States Courthouse
Chambers 1010
500 Pearl St.
                                  Jennifer H. Rearden, U.S.D.J.
New York, NY 10007-1312
                                  Dated: May 16, 2024
                      Re:    Kintetsu World Express (U.S.A.), Inc.
                                v. Dialectic Distribution LLC
                             SDNY Docket No. 1:21-CV- 09579 (JHR)(JW)
                             KLSE File: 6405

Dear Judge Rearden:

        We represent the Plaintiff, Kintetsu World Express (U.S.A.), Inc. (“Kintetsu”), in this ac-

tion. We write in accordance with your Individual Rule 3(C) to address a discovery issue and

request an informal conference with the Court pursuant to Local Civil Rule 37.2. We have written

repeatedly to opposing counsel and engaged in good faith telephone discussion of the relevant

issue without resolution.


        In this action, plaintiff asserts claims for approximately $1.6 million in damages arising

from defendant’s non-payment of charges for air transport and related logistics services provided

by plaintiff.


        The issue at hand is defendant’s failure to respond to or produce witnesses in compliance

with plaintiff’s notices to take depositions of the defendant pursuant to F.R.Civ.P. 30(b)(6) and of
Case 1:21-cv-09579-JHR-JW   Document 68   Filed 05/16/24   Page 2 of 4
Case 1:21-cv-09579-JHR-JW   Document 68   Filed 05/16/24   Page 3 of 4
Case 1:21-cv-09579-JHR-JW   Document 68   Filed 05/16/24   Page 4 of 4
